                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

        Andre Antonio Davis,          )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             3:21-cv-00056-RJC-WCM
                                      )
                 vs.                  )
                                      )
       Maureen O'Connell, et al       )
           Defendant(s).              )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s November 23, 2021 Order.

                                               November 23, 2021




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